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TIT IAM CMC ticoreirrsherelMm com (elon Uh ma aele ) mortem

United States Bankruptcy Court for the:

‘CENTRAL DISTRICT OF CALIFORNIA

Case number (if known) _ - Chapter you are filing under:

@ Chapter 7
CO) Chapter 41
CO Chapter 12

DI Chapter 13 1 Check if this is an
: amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 06/24

The bankruptcy forms use you and Debfor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. tn joint cases, one of the spouses must report Information as Debtor 1 and the other as Debtor 2, The same person must be Debtor 7 In
ail of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. [f

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Writethenamethatison Pedro = eee ee Ariadne ee ee
your government-issued First name First name :
picture identification (for
example, your driver's Abigail
license or passport). Middie name — ~ “Middle name - ss 7
don tcatin te your Rees Cabrera Villasenor
Last name and Suffix (Sr., Jr., 1, HN) Last name and Suffix (Sr., Jr., I, I}

meeting with the trustee.

2. All other names you have
used in the last 8 years

Include your married or

maiden names and any

assumed, trade names and

doing business as names. DBA Reyes Mobile Car Wash

Do NOT list the name of
any separate legal entity
such as a corporation,
partnership, or LLC that is
not filing this petition.

Ariadne Reyes
Ariadne Abigail Cabrera

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-3388 XXX-XX-9923
Individual Taxpayer
Identification number
(ITIN)

Official Form 101 Voluntary Petition for Individuals Fillng for Bankruptcy page 1
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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor

Case number (i known)

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4 Your Employer

* Identification Number
(EIN), if any. _ ~ caceeeeten tonenaner snes bec ect - vce ee

EIN EIN

5. Where you live (f Debtor 2 Ilves at a different address:
2426 1/2 Folsom St.
Los Angeles, CA 90033
Number, Street, City, State & ZIP Code Number, Street, City, State & ZIP Code
Los Angeles _ _ oe _ a
County County

If your mailing address Is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

Number, P.O. Box, Street, City, Slate & ZIP Code

lf Debtor 2's mailing address is different from yours, fill It
in here, Note that the court will send any notices to this
mailing address.

Number, P.O. Box, Street, City, State & ZIP Code

6. Why you are choosing Check one:
this district to file for

bankruptcy H Over the last 180 days before filing this petition,
[have lived in this district longer than in any

other district.

D _sIhave another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

| have another reason.
Explain. (See 28 U.S.C. § 1408.)

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 2
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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor = _ Case number (known)

ues tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under
a Chapter 7
CJ Chapter 14
OO Chapter 12

O Chapter 13

8. How you will pay thefee jj | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

]_Ineed to pay the fee in instaiiments. If you choose this option, sign and attach the Application for individuals to Pay
The Filing Fee in Installments (Official Form 103A).

__ [request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but Is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for ME No
bankruptcy within the ,
last 8 years? Yes.
District = Wer Case Umber” oe
District When —i—i—sSs—S—CSCC a @ ble
District == When a Case number -
10. Are any bankruptcy Mi No
cases pending or being
filed by aspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affillate?
Debtor ______ Relationship to you oo
District = When ss, Case number, if known
Debtor ee Relationship to you
District = ~~ — _. When _..... Case number, if known -
11. Do you rent your C1 No. Go to line 12.
resi
dence? Ml Yes. Has your landlord obtained an eviction judgment against you?

ul No. Go to line 12,

oO Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtori1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor Case number {if known)

ease Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time [J No. Go to Part 4.

business?
yes. Name and tecation of business
A sole proprietorship is a
business you operate as Reyes Mobile Car Wash - - - -
an individual, and is not a Name of business, if any
separate legal entity such
as a corporation,
partnership, or LLC. 2426 1/2 Folsom St.
if you have more man one Los Angetes, CA 90033
sole proprietorship, use a % : . seo ae wean
separate sheet and attach Number, Street, City, State & ZIP Code
it to this petition. Check the appropriate box to describe your business:
O Health Care Business (as defined in 11 U.S.C. § 101(27A))
oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
oO Stockbroker (as defined in 11 U.S.C. § 101(53A))
CO Commodity Broker (as defined in 11 U.S.C. § 101(6))
nH None of the above
13. Are you filing under if you are filing under Chapter 71, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. If you indicate that you are a smail business debtor, you must attach your most recent balance sheet, statement of

Bankruptcy Code, and operations, cash-flow statement, and federal income tax retum or if any of these documents do not exist, follow the procedure
are you a small business {n 11 U.S.C. § 1116(1)(B).

debtor?

For a definition of smaif No. 1am not filing under Chapter 11.

business debfor, see 11 .
U.S.C. § 101(51D).

OO No. Lam filing under Chapter 11, but | am NOT a smal! business debtor according to the definition in the Bankruptcy
Code.
CD yes. | am filing under Chapter 11, | am a smail business debtor according to the definition in the Bankruptcy Code, and

| do not choose to proceed under Subchapter V of Chapter 11.

OlYes. _| am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and
| choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Doyouownorhaveany [i iio
property that poses or is .
alleged to pose athreat [1 Yes.
of imminent and What is the hazard?
identiflable hazard to
public health or safety?
Or do you own any . | oo
property that needs If immediate attention is
immediate attention? needed, why is It needed?

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?

or a building that needs

urgent repairs? ee oo ceva
Number, Street, City, State & Zip Code

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4
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Debtor1 Pedro Reyes

Main Document

Debtor2 Ariadne Abigail Cabrera Villasenor _

lessee Explain Your Efforts to Recelve a Brieflng About Credit Counseling

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Case number (if known)

15. Teil the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
80, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

Official Form 101

About Debtor 1:

You must check one:

@ «sil received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

0 sIreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfted with your reasons for not receiving a
briefing before you filed for bankruptcy.

{f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(]_ +[am not required to receive a briefing about
credit counseling because of:

0 _sIncapacity.
| have a mental iliness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

0 sSODisabitity.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Os Active duty.
| am currently on active military duty in a
military combat zone.

If you beliave you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that ] asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to cbtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

f am not required to receive a briefing about credit
counseling because of:

C1 _=sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

0 #éDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

0 Active duty.
{ am currently on active military duty in a military
combat zone.

H you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor Case number (if known)

rhea

Answer These Questions for Reporting Purposes

Are your dabts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
C1 No. Go to line 16b.

16. What kind of debts do 16a.
you have?

BB Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

0 No. Go to line 16c.

D Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

17. Are you filing under No, !amnot filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that Wl Yes | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ‘are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
adminlstrative expenses HNo
are paid that funds will
he avallable for 0 Yes
distribution to unsecured
creditors?
18. How many Creditorsdo gy 4-49 C1 1,000-5,000 0 25,001-50,000
you estimate thatyou 7 59.99 C1) 5001-10,000 C) 50,001-100,000
C1 100-199 D 10,001-25,c00 0) More than100,000
Di 200-99:
19. How much do you I 30 - $50,000 C1 $1,000,001 - $10 million C1 $600,000,004 - $1 biltion
rea assets to +4 350,001 - $100,000 1] $10,000,001 - $50 million Ci $1,000,000,001 - $10 billion

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

Official Form 101

[ $500,001 - $1 million

C7 $100,001 - $500,000
£1 $500,001 - $1 million

E) $50,000,004 - $100 million
1 $100,000,001 - $500 million

(J $10,000,000,001 - $50 billion
Cl] More than $50 billion

TJ $0 - $50,000

(J $50,001 - $100,000
$100,001 - $500,000

CO $1,000,001 - $10 million

CG $10,000,001 - $50 miltion
CI] $50,000,001 - $100 million
1 $100,000,001 - $500 million

C1 $500,000,001 - $1 billion

1 $1,000,000,001 - $10 bition
1 $10,000,000,001 - $50 billion
O More than $50 biltion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the retief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
} understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a

bankruptcy case can result in fines.yp to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.

tsi PedroReyes 7 ee ‘si Arladne Abigall Cabrera Villasenor Xs
Pedro Reyes Ariadne Abigail Cabrera Villasenor
Signature of Debtor 1 Signature of Debtor 2

Executedon October 1, 2024
MM/DD/YYYY

Executedon October 1, 2024
MM/DD/YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor =| oo Case number (if known) -
For your attorney, if you are I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of tittle 11, United States Code, and have explained the relief available under each chapter

for which the person Is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by —_ and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the
an attorney, you do not need — schedules filed with the petition is incorrect.
to file this page.

Js/ Jasmine Firooz Date October 1, 2024

Signature of Attomey for Debtor MM/DD/YYYY

Jasmine Firooz |
Printed name

_Law Offices of Jasmine Firooz, P.C-.
Firm name
1605 W. Olympic Blvd. Suite 9021
Los Angeles, CA $0015

Number, Street, City, State & ZIP Code
Contactphone Tel, 213-251-8568 = Emailaddross © jasminefirooz@gmall.com
CSB#166508CA

Bar number & State

Official Form 104 Voluntary Petition fer Individuals Filing for Bankruptcy page 7
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STATEMENT OF RELATED CASES
INFORMATION REQUIRED BY LBR 1015-2
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
assigned, whether stil! pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
included in Schedule A/B that was filed with any such prior proceeding(s).)

Chapter 7 petition case# 2:15-14667-BB Filed: 3/26/15 Discharged: 7/06/2015

Chapter 7 petition case# 2:04-20349-AA_ Filed: 5/7/04 Discharged: 8/16/2004

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
any real property included in Schedule A/B that was filed with any such prior proceeding(s).)

none

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
A/B that was filed with any such prior proceeding(s).)

none

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
that was filed with any such prior proceeding(s).)

none

| declare, under penalty of perjury, that the foregoing is true and correct.

we

Executed at Los Angeles , California. Is} Pedro Reyes
Pedro Reyes
Date: October 1, 2024 . Signature of Debtor 1

/s/ Ariadne Abigail Cabrera Villasenor YY

Ariadne Abigail Cabrera Villasenor
Signature of Debtor 2

This form is mandatory. it has been approved for use in the United States Bankruptcy Court for the Centra} District of Califomia.

October 2018 Pago 1 F 1015-2.1.STMT.RELATED.CASES
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Debtor 1 Pedro Reyes

First Name Middle Neme Last Name
Debtor 2 Ariadne Abigail Cabrera Villasenor
(Spouse if, fiting) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known) 0 Check if this is an

amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

‘Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B $ 0.00
1b. Copy line 62, Total personal property, from Schedule A/B $ 32,718.00
1c. Copy line 63, Total of all property on Schedule A/B $ 32,718.00

Summarize Your Liabilities

Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EF... ssceessceeenees $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F.......c..csseesseeens $ 144,519.00
Your total liabilities | $ 144,519.00
Summarize Your Income and Expenses
4. Schedule f: Your income (Official Form 1061)
Copy your combined monthly Income from line 12 Of SCHOCUIG I......scscersscsssssessesvessesrcesstecsencsecnerensereseesess $ 4,544.00
5. Schedule J: Your Expenses (Official Form 106J
penses ( $ 5,095.00

Copy your monthly expenses from line 22¢ of Schedule J... essere seseeststeseasesnsasees

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
O1_ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Mi Yes
7. What kind of debt do you have?

ww Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

O Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
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Debtor1 Pedro Reyes

Debtor 2 Ariadne Abigail Cabrera Villasenor Case number (if known)
8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form .
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 6,152.00 |

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0,00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) 3 a — 0.00:
Sd, Student loans. (Copy line Gf.) $ 0.00
9e, Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy tine 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +S 0.00
9g. Total. Add lines 9a through Sf. $ 0.00,

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2
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aLLMIe Menem lalcolaut:] (Col mcom(s(-1pr clam Zelelmeor:cy-M- tiem eM en

|
Debtor 1 Pedro Reyes
“First Name Middie Name Last Name
Debtor 2 Ariadne Abigail Cabrera Villasenor

i (Spouse, if filing) “First Name Middle Name Last Name

United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

iCasenumber . O Check if this is an
[ . ce none ce ao. ae . amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately tist and describe items. List an asset only once. If an asset fits in more than one category, fist the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest tn
1. Do you own or have any legal or equitable interest in any residence, bullding, land, or similar property?

WM No. Go to Part 2.
DD ves. Where is the property?

EERE Describe Your Vehictes ne

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CNo
i ves
: Che Do not deduct secured claims or exemptions. Put
3.1 Make: vy Who has an Interast in the property? Check one the amount of any secured claims on Schedule D:
Mode: Traverse D1 Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 201 7 - . ve C1 Debtor 2 only Current value of the Current vatue of the
Approximate mileage: 74000 miles Hl Debtor 1 and Debtor 2 only entire property? portion you own?
Otherinformation: = ——————SsSsé«CES Atleast cone cof thee debtors and another
Location: 2426 1/2 Folsom St., |
Los Angeles CA 90033 @ check If this is community property - $5,000.00 a $5,000.00

(se0 instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
Bio
0D Yes

5 Add the dollar value of the portion you own fer all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here. => $5,000.00

Describe Your Personal and Household Items .
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
clalms or exemptions.

Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor oe / Case number (ifknown)

6. Household goods and furnishings
Examples: Major appliances, fumiture, linens, china, kitchenware

C] No
@ Yes. Describe...

[furniture and appliances | $3,500.00

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
MNo

CD Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

BNo
Cl Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, poo! tables, golf clubs, skis; cances and kayaks; carpentry tools;
musical instruments

HNo
O Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Bi No
DO Yes. Deseribe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

DINo
Wl ves. Describe.....

| clothes

$700.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

1 No
Ml Yes. Describa.....

| Jewelry $1,900.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
DO Yes. Describe.....

14, Any other personal and household Items you did not already list, including any health aids you did not Iist
HNo
D Yes. Give specific information...

15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached

for Part 3. Write that number here $6,100.00

Describe Your Financial Assots

Do you own or have any legal or equitable interest in any of the following?
Official Form 106A/B Schedule A/B: Property page 2

Current value ofthe
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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor __ — Case number (if known)
portion you own?
Do not deduct secured
claims or exemptions.
16, Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CI No
i Yes

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.

CJ No

i ves Institution name:

17.1. checking acct. Bank of America $20.00

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

BH No
DO yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
MNo

C Yes. Give specific information about them..........e00
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No

CJ Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

DNo

BB Yes. List each account separately.
Type of account: Institution name:

401K Oo oe $11,588.00

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo
DY OS. oe eseceeesseeseee Institution name or individual:

23. Annuities (A contract for a pericdic payment of money to you, either for life or for a number of years)
HNo

DO Yes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
DD YVeS.eececccccce tnstitution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

Official Form 106A/B Schedule A/B: Property page 3
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Debter1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor / Case number (if known)

25. Trusts, equitable or future interests in property (other than anything listed in I[ne 1), and rights or powers exercisable for your benefit
Bi No
Ci Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Bi No
0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
O Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
HNno
D Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

MNo
(1 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Mi No
Cl Yes. Give specific information..

31. Interests In insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Mno

O Yes. Name the insurance company of each poticy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
Mi No

C1 Yes. Give specific information..

33. Clalms against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

[No
MM Yes. Describe each claim.........

[Estimated recovery due to caraccident —_

__ $10,000.00

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
Mi No

C Yes. Describe each claim.........

Official Form 106A/B Schedule A/B: Property page 4
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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor sy a Case number (if known)

35. Any financial assets you did not already list
MNo

C] Yes. Give specific information..

36. Add the dollar vatue of all of your entries from Part 4, Including any entries for pages you have attached
for Part 4. Write that number here. — ___ $21,618.00

Describe Any Business-Related Property You Own or Have an Interest [n. List any real estate tn Part 1.

37. Do you own or have any legal or equitable interest In any business-related property?
Hl No. Go to Part 6.
O Yes. Go to line 38.

f7uaiwe Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46, Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
I No. Go to Part 7.
0 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Bi No
D Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here a $0.00

55. Part 1: Total real estate, line 2 $0.00
56. Part 2: Total vehicles, tine 5 __. $5,000.00
57. Part 3: Total porsonal and household items, line 15 —___ $6,100.00
58, Part 4: Total financial assets, line 36 $21,618.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + «$0.00

62. Total personal property. Add lines 56 through 61... _____ $32,718.00 | Copy personal property total _____ $32,718.00

63. Total of all property on Schedule A/B. Add tine 55 + line 62 $32,718.00

Official Form 106A/8 Schedule A/B: Property page 5
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i
Debtor 1 Pedro Reyes

: “First Name Middle Name Last Name
Debtor 2 Ariadne Abigail Cabrera Villasenor
(Spouse if, filing) First Name Middle Name Last Name

‘United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

_Case number Oo
(ii known) 1 Check if this is an

aS amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additicnal pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds——may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the vatue of the property Is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

GEEEEEE 'dentify the Property You Claim as Exempt = i

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

§@ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
CT You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedufe A/8 that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/8 that lists this property portion you own

Copy the value from Check only one box far each exemption,

Schedule A/B
2017 Chevy Traverse 74000 miles $5,000.00 $5,000.00 -C.P. § 703.140(b)(2)
miles ne ct
Location: 2426 1/2 Folsom St., Los C) 100% of fair market value, up to
Angeles CA $0033 any applicable statutory limit

Line from Schedule A/B: 3.1

furniture and appliances $3,500.00 i $3,500.00 ©-C-P. § 703.140(b)(3)
Line from Schedule A/B: 6.1 * Serescerra sets mann ence
C) 100% of fair market value, up to
any applicable statutory limit

Line from Schedule A/B: 11.1 nates nn re ace cane nn
OD 100% of fair market value, up to
any applicable statutory limit

Jewelry $1,900.00 $1,900.00 ©.C.P. § 703.140(b)(4)
Line from Schedule A/B: 12.1 .- - vo 22 ST

C1 100% of fair market value, up to
any applicable statutory limit

$10.00 $10.00 C.C.P. § 703.140(b)(5)

Cash
Line from Schedule A/B: 16.1 we

400% of fair market value, up to
any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor
Brief description of the property and line on

Schedule A/B that lists this property

checking acct.: Bank of America
Line from Schedule A/B: 17.1

401K:
Line from Schedule A/B: 21.1

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Current value of the
portion you own

Amount of the exemption you claim

Copy the value from Check only one box for each exemption.
Schedule A/B
$20.00 $20.00

Case number (if known)

O 100% of fair market value, up to
any applicable statutory limit

__ $11,588.00

0 400% of fair market value, up to
any applicable statutory limit

$11 588.00

Specific laws that allow exemption

C.C.P. § 703.140(b)(5)

CCP. § 703.140(b)(10)(E) -

Estimated recovery due to car
accident
Line from Schedule A/B: 33.1

$10,000.00 Mm

CL) 100% of fair market value, up to
any applicable statutory limit

$10,000.00

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

BH No
Ci No
Ol Yes

Official Form 106C

Schedute C: The Property You Claim as Exempt

C.C.P. § 703.140(b)(5)

page 2 of 2
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ILMIABATLMittiora airs \icelane com (etsraittA'as ole Umer (1-38
I

Debtor 1 Pedro Reyes

“First Name Middie Name Last Name
Debtor 2 Ariadne Abigail Cabrera Villasenor
{Spouse if, fiting) “First Nama Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

_Case number BC
' (if known) 1 Check if this is an

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married peopte are filing together, both are equally responsible for supplying correct Information. if more space
Is needed, copy the Additlonal Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
@ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
0 Yes. Fill in all of the information below.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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LLMs SM latcorentrltlelemcem(elcli Gib 7oreLmerst1eH

‘Debtor 1 Pedro Reyes
“First Name Middle Name Last Name
Debtor 2 Ariadne Abigail Cabrera Villasenor
(Spouse if, filing) First Nama Middle Name Last Name

_ United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

' Case number

: {if known) [J Check if this is an

amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY clalms and Part 2 for creditors with NONPRIORITY claims. List the other party to
any exacutory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Exacutory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed In
Schedule D: Creditors Who Have Claims Secured by Property. if more space Is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
8B No. Go to Part 2.
O ves.

List All of Your NONPRIORITY Unsecured Claims
3.

Do any creditors have nonpriority unsecured claims against you?

1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

WH yes.

List all of your nonpriority unsecured claims [n the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecurad claim, list the creditor separately for each claim. For each claim fisted, Identify what type of claim it is. Do not list claims already Inctuded in Part 1. If more
than one creditor holds a particular clalm, Ilst the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of

Part 2.
Total claim
4 ] Adventist Health White Memorial _ Last 4 digits of account number 3228 $350.00.
Nonpriority Creditors Name
3075 East (mperial Hwy Sulte 200 When was the debt incurred? 2024
Brea, CA 92821
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
5 Debtor 1 only oO Contingent
Debtor 2 only C1 untiquidated
WB pebtor 1 and Debtor 2 only oO Disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
Bl check if this claim Is for a community CJ student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hl No C] Debts to pension or profit-sharing plans, and other similar debts
C1 Yes M other. Speciy MedicalCharges
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 13

SOG606
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Debtor 1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor Case number (if known)
42 | Adventist Health White Memorlal _—_Last 4digits of account number 9874 __ $1,500.00
Nonpriority Creditors Name
3075 East Imperial Hwy Suite 200 When was the debt incurred? =. 2024 ee
Brea, CA 92821
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 4 only C contingent
C1 debtor 2 only 0 Unliquidated
I Debtor 1 and Debtor 2 only C2 visputed
C1 Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
Wi check if this clatm is fora community 7 Student toans
debt Oo Obligations arising cut of a separation agreement or divorce that you did not
Is the claim subject to offset? raport as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
Cves Ml oiner. specty Medical Charges _
.43 | Adventist Health White Memorial —=—>_ Last 4 digits of accountnumber 1521 $2,184.00
Nonpriority Creditors Name
3075 East Imperial Hwy Suite 200 When wes the debtincurred? = 2024
Brea, CA92821)
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
D1 Debtor 4 only o Contingent
D1 Debtor 2 only 0 Unliquidated
MM Debtor 1 and Debtor 2 only C1 pisputed
D Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
i check If this claim is fer a community (1 Student toans
debt DO obtigations arising out of a separation agreement or divorce that you did not
|s the claim subject to offset? report as priority claims
a No 1 debts to pension or profit-sharing plans, and other similar debts
O ves Mother. spacity MedicalCharges
American Express / Amazon
|44 | Business Last 4 digits of account number 2007 $8,535.00
"__ Nonpriarity Creditor’s Name : oo
PO Box 96001 When was the debt incurred? 2021 |
Les Angeles, CA 90096-8000
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply
Who incurred the debt? Check one.
5 Debtor 1 only Oo Contingent
Debtor 2 only CO untiquidated
WE Debtor 1 and Debtor 2 only D2 bisputed
D1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
i check if this claim is for a community C1 student loans
debt O obligations arising out of a separation agreement or divorce that you did not 3
Is the claim subject to offset? report as priority clalms
Binto CZ Debts to pension or profit-sharing plans, and other similar debts
O Yes Mi otner. Specity Credit Card Charges _
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 13
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Main Document

Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor sy

45 Apple Card

Nonpriority Creditors Name _
PO Box 7247

Philadelphia, PA 19170
Number Street City State Zip Coda

Who incurred the debt? Check one.

D Debter 1 onty

C1 Debter 2 only

WB pebtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

WB check if this claim is fora community
debt
Is the claim subject to offset?

Mino

“46 | ARS National Services Inc. _
Nonpriority Creditors Name
PO Box 469100
Escondido, CA 92046

Number Street City State Zip Code _
Who incurred the debt? Check one.

C1 Debtor 4 only
C1 Debtor 2 only

WH Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

Wl check if this claim is for a community
dabt
Is the claim subject to offset?

Bo

D ves

Capital One Bank

Nonpriority Greditor's Name_
PO Box 30285
Salt Lake City, UT 84130

Number Street City State Zip Code _
Who incurred the debt? Check one.
C1 Debtor 1 only

CJ Debtor 2 only

Hl bebtor 1 and Debtor 2 only

C1 At least one of the debtors and another

Led

47

I check If this claim is fora community
debt
ts the clalm subject to offset?

a No
D Yes

Official Form 106 E/F

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Last 4 digits of account number 8420 oe
When was the debt Incurred? 2022

As of the date you file, the claim is: Check all that apply

D1 contingent
CO] Untiquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

C1 stugent toans

0 Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

Ml omner. Specty Charged Off Acct.

Last 4 digits of account number 61 30 /
When was the debt Incurred? 2024

As of the date you file, the claim is: Check all that apply

O Contingent
oO Unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:
CZ Student loans

0 Obligations arising out of a separation agreement or divorce that you did not

teport as priority claims

D pebts to pension or profit-sharing plans, and other similar debts

Collection Account - RE. Citibank, N.A. /
Macy's American Express Card acct. no.

& other. Specify endiog| 9918

Last 4 digits of account number 6991
When was the debt incurred? = 2022

As of the date you file, the claim is: Check all that apply

Oo Contingent
Oo Untiquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CI student toans

Oo Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

CI Debts to pension or profit-sharing plans, and other similar debts

Mother specty Charged Off Acct.

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known)

__ $4,583.00

_ _ $3,199.00

$5,712.00

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Debtor 1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor Case number (if known)
Capital One Bank (USA) NA. Last 4 digits of account number 1082 $529.00
Nonpriority Creditors Name Done tee ne wc aman --  ENENENE
PO Box 30281 When was the debt incurred? = 2023
SaltLake City, UT 84130 00
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
5 Debtor 1 onty oO Contingent
Debtor 2 only oO Untiquidated
WB Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured clalm:
Wi check If this claim is for a community (student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D petts to pension or profit-sharing plans, and other similar debts
O ves WM other. specity Credit Card Charges
49 | Capital One Bank (USA)N.A. ——=—=—Last 4 digits of account number 6104 _ $1,536.00
Nonpriority Creditors Name
PO Box 30281 When was the debt incurred? 2023
Salt Lake City, UT 84130,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
5 Debtor 1 only go Contingent
Debtor 2 only D1 unliquidated
@ Debtor 1 and Debtor 2 only C1 pisputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
@ check if this claim is for a community C student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
fs the claim subject to offset? report as priority claims
Hino C1 Detts to pension or profit-sharing plans, and other similar debts
0 ves Mother. Specify Credit Card Charges
[at | :
| 0 | Cedars Sinai Last 4 digits of account number 1313 - _ $36,184.00
~~~ “Nonpriority Creditors Name
PO Box 48954 When was the debt incurred? =. 2023, oe
Los Angeles, CA 90048-0954
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
C1 Debtor 1 onty C contingent
C1 Debtor 2 onty 1 Untiquidated
¥ Debtor 1 and Debtor 2 only C1 pisputed
D atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
Wl check if this claim is for a community C1 student loans
debt OD obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi nto Q bebts to pension or profit-sharing plans, and other similar debts
C1 ves @ other. Specity Medical Charges - MRN ending 9360
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 13
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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor it Case number (if known)
: Citi Cards Last 4 digits of account number 7803 $597.00
’"" Nonpriority Creditors Name = oe ee
PO Box 6403 When was the debt incurred? 2022
Sioux Falls, SD 57117
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply

Who incurred the debt? Check one.
D pebter only
D1 Debtor 2 only

D1 contingent

C1 Untiquidated
WB pebtor 1 and Debtor 2 only oO Disputed
0 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
B chock if this claim is for a community C) Student loans
debt QD Obligations arising out of a separation agreement or divorce that you did not
Is tha claim subject to offset? report as priority claims
Hino CZ) Debts to pension or profit-sharing plans, and other simitar debts
0 ves MM other. Specify Credit Card Charges oo
41
2 City of Pasadena Last 4 digits of account number 8704 2 $3,150.00
~~ “Nonpriority Creditors Name oe oe
PO Box 269110 Whenwasthedebtincurred? = 20230
Sacramento, CA 95826-9110
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
A Debtor 1 only CO contingent
Debtor 2 only C1 Uniiquidated
I Debtor 1 and Debtor 2 only C1 Disputed
D) At least one of the debtors and another Type of NONPRIORITY unsecured claim:
BB check if this claim Is for a community C) student toans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the clalm subject to offset? report as priority claims
a No D Debts to pension or profit-sharing plans, and other similar debts
O ves Wi other. Specity Medical Charges
“at |
‘3 Daniel's Jewelers ___ Last 4 digits of account number 1049 $2,354.00
: NonpriorityCreditorsName = —t—s ee oe oo
PO Box 3750 When was the debt incurred? 2021 oo
Culver City,CA 90231 0
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply

Who incurred the debt? Check one.
CZ] Debtor 1 only

oO Oo Contingent

Debtor 2 only D2 unliquidated

Wl pebtor 1 and Debtor 2 only C1 disputed

0 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:

I check If this claim Is for a community O student toans

debt DO obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims

Bino C2 Debts to pension or profit-sharing plans, and other similar debts

O Yes Mi ciher. Speciy Consumer Debt _

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Debtor 1 Pedro Reyes

Debter2 Ariadne Abigail Cabrera Villasenor |

4.4
4

Goldman Sachs Bank USA /Apple
Cad

Nonpriority Creditor’s Name

Lockbox 6112

PO Box 7247

Philadelphia, PA 19170-6112 __

Number Street City State Zip Code
Who Incurred the debt? Check one.

C1 Debtor 4 only

CD] Debtor 2 only

W Debtor 1 and Debtor 2 only

(1 Atleast one of the debtors and another

WB chack if this claim is fora community
debt
Is the claim subject to offset?

Hino
O ves

HMH Emergency Medical Group Inc.

Officia! Form 106 E/F

Nonpriority Creditors Name
PO Box 60259
Los Angeles, CA 90060-0259

Number Street City State Zip Code
Who Incurred the debt? Check one.

Ci debtor 1 onty

DO Debtor 2 only

debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

I check if this claim Is for a community
debt
Is the claim subject to offset?

Bno
DO ves

Huntington Health

“Nonpriority Creditors Name
PO Box 48954
Los Angeles, CA 90048-0954
Number Street City State Zip Code

Who incurred the debt? Check one.

CZ Debtor 4 only

C1 Debtor 2 only

Ml Debtor 1 and Debtor 2 only

C1 Atteast one of the debtors and another

Wl check if this claim is for a community
debt
Is the claim subject to offset?

Hino
0 ves

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Case number (if known)

Last 4 digits of account number 9349 - $3,322.00
When was the debt incurred? 2022

As of the date you file, the claim is: Check all that apply

oO Contingent

CI unliquidated

C1 Disputed

Type of NONPRIORITY unsecured claim:

C1 student joans

CJ Obtigations arising out of a separation agreement or divorce that you did not

report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

B other. Specify Charged Off Acct.

Last 4 digits of account number 6591 ee $1,847.00
When was the debt Incurred? 2023

As of the date you file, the clalm is: Check all that apply

oO Contingent

Di untiquideted

CJ Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

O Obligations arising out of a separation agreement or divorce that you did not

report as priority clalms

OC Debts to pension or profit-sharing plans, and other similar debts

Ml other. Specify Medical Charges

Last 4 digits of account number 6973 $6,541 3.00 /

When was the debt incurred?

2022

As of the date you file, the ciaim Is: Check all that apply

oO Contingent
0 Uniiquidated

CO disputed
Type of NONPRIORITY unsecured claim:

C student loans

O Obligations arising out of a separation agreement or divorce that you did net
report as priority clalms

OD Debts to pension or profit-sharing plans, and other similar debts

WH other. Specity Medical Charges

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Pedro Reyes

Debtor 2 Ariadne Abigail Cabrera Villasenor

‘4.4

7

at | Merrick Bank

Official Form 106 E/F

kohl's

Nonpriority Creditors Name
PO Box 3043

Milwaukee, WI 53201

Number Street City State Zip Code
Who incurred the debt? Check one.

D bebtor 4 only

D Debtor 2 only

IB Debtor 1 and Debtor 2 only

OC atleast one of the debtors and another

Mf Chock if this claim Is for a community
debt
Is the claim subject to offset?

Hino
CO] ves

McCarthy, Burgess & Wolff

Nonpriority Creditors Name

26000 Cannon Road
Cleveland,OH 44146

Number Street City State Zip Code

Who Incurred the debt? Check one.

D Debtor 1 only

D bebtor 2 only

I pebior 1 and Debtor 2 only

CO Atteast one of the debtors and another

Wl check if this claim is fora community
debt
Is the claim subject to offset?

Hino

O ves

“Nonpriority Creditors Name
PO Box 660702

Dallas, TX 75266-0702
Number Street City State Zip Code
Who incurred the debt? Check one.

D Debtor 1 only
D Debtor 2 only

IB Debtor 1 and Debtor 2 only
C1 At least one of the debtors and another

WB check if this claim Is fora community
debt
Is the claim subject to offset?

a No
O Yes

Page 25 of 61

Case number (if known)

Last 4 digits of account number 8806

2023

When was the debt Incurred?

As of the date you file, the claim is: Check all that apply

0 Contingent
00 uniiquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

D student toans

Q Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D vebts to pension or profitsharing plans, and other similar debts

M other. Specify Credit Card Charges

Last 4 digits of account number 184 6

2022

When was the debt Incurred?

As of the date you file, the claim is: Check all that apply

oO Contingent
0 unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:
D student toans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C2 pebts to pension or profit-sharing plans, and other similar debts
Collection Account - RE. Citibank N.A. The

Home Depot Commercial Card acct. no.
Ml other. Specify ending 5760 __

Last 4 digits of account number

_ $144.00

so B29709.00

$3,549.00

Whon was the debt Incurred?

As of the date you file, the claim is: Check all that apply

0 Contingent
C] untiquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:
D student toans

OD Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

1 Debts to pension or profit-sharing plans, and other similar debts

Credit Card Charges - RE. TrueAccord
Mother. Specify Corp. Acct.# ending 5388

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor

Nelson and Kennard Attorneys
Nonpriority Creditors Name =
PO Box 13807

Sacramento, CA 95853

Number Street City State Zip Code
Who incurred the debt? Check one.

Ci vebtor 1 only
D1 debtor 2 only

Wl Debtor 1 and Debtor 2 only
0 At teast one of the debtors and another

MI check if this claim is for a community
debt
Is the clalm subject to offset?

Hino

0 yes

Nordstrom Bank Colorado Srvce
Cntr

Nonpriority Creditors Name

PO Box 6555

Englewood, CO 80155
Number Street City State Zip Coda
Who incurred the debt? Check one.
C1 Debter 1 only

CG Debtor 2 only

WH Debtor 1 and Debtor 2 only
D At least one of the debtors and another

M8 Check if this claim is for a community
debt
Is the claim subject to offset?

a No
O Yes

Portfollo Recovery Associates

Official Form 106 E/F

Nonpriority Creditor’s Name
120 Corporate Bivd.Ste.100

Norfolk, VA 23502

Number Street City State Zip Code
Who incurred the debt? Check one.

D1 debtor 1 only

D Debtor 2 only

I Debtor 1 and Debtor 2 only

0 Atleast one of the debtors and another

Wi check if this claim Is for a community
debt
!s tha clalm subject to offset?

Hino
OD ves

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Case number (if known)

Last 4 digits of account number 4050 a

When was tho debt incurred? 2024

As of the date you filo, the claim is: Check all that apply

CJ Contingent

C1 Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
C1 student toans

O Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

C1 debts to pension or profit-sharing plans, and other similar debts
Coliection Account - Re. Cavalry SPV I, LLC
V. Ariadne Cabrera court case no.
24-10405-0 / Complaint for Money Damages

Mother. Specity / Re. Citibank

Last 4 digits of account number 4277

When was the debt incurred? 2022

As of the date you file, the claim is: Check all that apply

oO Contingent
D0 untiquidated

DO Disputed
Type of NONPRIORITY unsecured claim:

O1 student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority clalms

0 Debts to pension or profit-sharing plans, and other similar debts

Ml other. Specify Credit Card Charges

8904

2022

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check ail that apply

oO Contingent
0 untiquidated

O pisputed
Type of NONPRIORITY unsecured claim:

CD) student teans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

01 Debts to pension or profit-sharing plans, and other similar debts

Collection Account - Re. Best Buy /
@ other. Specify Citibank N.A._

Schedule E/F: Creditors Who Have Unsecured Claims

___ $8,401.00

$3,017.00

$6,038.00

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Debter1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor

4.2
(3.

14.2

Official Form 106 E/F

PromedSpine.com

Nonpriority Creditors Name
1631 Ventura Blvd. Suite 1065-B
Encino, CA 91436

oa

Number Street City State Zip Code
Who Incurred the debt? Check one.

0) Debtor 1 only

D Debtor 2 only

WB Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

@ check if this claim is for a community
debt
Is tha claim subject to offset?

Bi no
0 yes

Nonpriority Creditors Name
5700 Southwyck Bivd.
Toledo, OH 43614-1509

"Number Street City State Zip Code

Who Incurred the debt? Check one.
D Debtor 1 only
DD Debtor 2 only

WM Debtor 1 and Debtor 2 only
D atteast one of the debtors and another

IB Check if this claim is for a community
debt
Is the claim subject to offset?

Bno
0] ves

Shop Your Way Mastercard
Nonpriority Creditors Name —
PO Box 6276

Sioux Falls, SD 57117-6276

‘Number Street City State Zip Code
Who Incurred the debt? Check one.

O Debtor 1 only
D Debtor 2 only

WB pebtor 1 and Debtor 2 only
D atteast one of the debtors and another

I check if this claim Is for a community
debt
Is tha claim subject to offset?

Hino
DO Yes

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Case number (if known)

Last 4 digits of account number 3388 _

When was the debt Incurred? 2023

As of the date you file, the claim Is: Check all that apply

O contingent
0 untiquidated

O Disputed
Type of NONPRIORITY unsecured claim:

D student toans

Q Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

@ other. Speciy Medical Charges

Last 4 digits of account number 1014 oo.

When was the debt Incurred? 2024

As of the date you file, the claim is: Check all that apply

Oo Contingent
O unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

DO) student toans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

Oi pebts to pension or profit-sharing plans, and other similar debts
@ other. Specity Medical Charges

Last 4 digits of account number 1445
When was the debt Incurred? 2023,

As of the date you file, the claim is: Check all that apply

oO Contingent
C1 untiquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

C1 student toans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO Debts to pension or profit-sharing plans, and other similar debts
I other. Specify Credit Card Charges

Schedule E/F: Creditors Who Have Unsecured Claims

__ $23,620.00

_. 3116.00,

___ $683.00

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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor == Case number (if known)
Py
4.2
6 | Suttell, Hammer , APC Last 4digits ofaccount number 4001 _____ $7,820.00
: ‘Nonpriority Creditors Name — : - : ee
PO Box C-90006 When was the debt Incurred? 2024
Bellevue, WA 98009
Number Street City State Zip Code As of the date you file, the claim Is: Check all that apply
Who incurred the debt? Check one.
5 Debtor 1 only oO Contingent
Debter 2 only 1 untiquidated
M@ Debtor 1 and Debtor 2 only oOo Disputed
C1 at teast one of the debtors and another Type of NONPRIORITY unsecured claim:
@ check if this claim is fer a community C) Student toans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offsat? report as priority claims
Bi no CJ Debts te pension or profit-sharing plans, and other similar debts
Collection Account - Re. Discover Bank
1 Yes Ml other. Specty Acct. no. ending 9128/ case #24NWLC38644
42)
7 | Synchrony Bank Amazon Last 4 digits of account number 8556 $656.00
‘Nonpriority CreditorsName ee
Attn: Bankruptcy Department When was the debt Incurred? 2022
PO Box 71783
Philadelphia, PA 19176-1783
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
5 Debtor 1 only oO Contingent
Debtor 2 only 1 unliquidated
MM Debtor 4 and Debtor 2 only C1 pisputed
D1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
Wl check if this claim is for a community 1 Student toans
debt QO Obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
no D1 Debts to pension or profit-sharing plans, and other similar debts
Dives Miter. specity Cradit Card Charges
42
| | Target National Bank Last 4 digits of account number 9166 $1,804.00
- Nonpriority Creditor's Name — —
c/o Target Credit Services When was the debtincurred? = =92023
PO Box 673
Minneapolis, MN 55440
Number Street City State Zip Code As of the date you file, the clalm Is: Check all that apply
Who incurred the debt? Check one.
5 Debtor 1 only C contingent
Debtor 2 only D unliquidated
WI Debtor 1 and Debtor 2 only C1 disputed
C1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
Wl check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
(s the claim subject to offset? report as priority claims
HEno C] Debts to pension or profit-sharing plans, and other similar debts
O yes W other. Specity Credit Card Charges

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 10 of 13
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Debtor 1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor =| Case number (if known) a a
| o. | US Acute Care _ Last 4 digits of account number 2634 $1,472.00
Nonpriority Creditors Name
PO Box 9820 When was the debt incurred? 2024
Carol Springs, FL 33075-9820
Number Street City State Zip Code As of the date you file, the claim [s: Check ail that apply

Who Incurred the debt? Check one,
CD Debter 1 onty
CI Debtor 2 only

C] Contingent
C1 untiquidated

WB bebtor 1 and Debtor 2 only O pisputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
M@ check if this claim [s for a community C1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did net
ls the claim subject to offsat? report as priority claims
no 0 Debts to pension or profit-sharing plans, and other similar debts
C ves Mother. Specty MedicalCharges
43 |
0 | US Acute Care Solutions Last 4 digits of account number $923.00
~ “Nonpriority Creditor's Name : : a — _—
PO Box 9820 When was the debt incurred? 2023
Carol Springs, FL 33075-9820
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
A Debtor 1 only C contingent
Debtor 2 only (7 untiquidated
WM Debtor 1 and Debtor 2 only oO Disputed
C1 at teast ona of the debtors and another Type of NONPRIORITY unsecured claim:
MB check if this claim is for a community C1 student loans
debt C] obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo CJ Debts to pension or profit-sharing plans, and other similar debts
Medical Charges - Re. Adventist Health
O yes Hl other. Specify White Memorial
43 | .
‘1 | US Acute Care Solutions Last 4 digits of account number 2634 — _ $1,472.00,
“ Nonpriorty CreditorsName = —s
PO Box 9820 When was the debt incurred? 2024 _ _
Carol Springs, FL 33075-9820
Number Street City State Zip Code As of the date yau file, the claim is: Check all that apply
Who incurred the debt? Check one.
CD Debter 4 only CO contingent
DF Debtor 2 only CO untiquidatea
MI Debtor 1 and Dabtor 2 only 1 pisputed
C1 At least one of the debtors and another Typa of NONPRIORITY unsecured claim:
Wi check if this clalm is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino 1 Debts to pension or profit-sharing plans, and other similar debts
Medical Charges - RE. Adventist Health
0 ves @ other. Specify White Memorial

List Others to Be Notified About a Debt That You Already Listed _

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 11 of 13
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Debter 1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor _

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Case number (if known)

5. Use this page only If you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 4 or 2, then list the collection agency here. Similarly, if you
have more than one craditor for any of the debts that you listed [n Parts 1 or 2, llst the additional creditors here. lf you do not have additional persons to be
notified for any debts [n Parts 1 or 2, do not fill out or submit this page.

Name and Address

Amazaon Business Card
PO Box 81226

Seattle, WA 98108-1226

Name and Address
American Express
PO Box 981535

El Paso, TX 79998-1535

Name and Addross

Cedars Sinai Financial Assistance

File 1688
1801 W. Olympic Blvd.

Pasadena, CA 91199-0954

Name ¢ and Address

Goldman Sachs Bank USA /Apple

Card

Lockbox 6112

PO Box 7247
Philadelphia, PA 19170

, Name and Address .
Good Year Credit Card
PO Box 9001006

Louisville, KY 40290-1006

Name and Address
True Accord

303 2nd St. Suite 750 South

San Francisco, CA 94107

On which entry in Part 1 or Part 2 did you IIst the original creditor?

Line 4.4 of (Check one): D Part 4: Creditors with Priority Unsecured Claims
WW part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 2007

On which entry In Part 1 or Part 2 did you list the original creditor?

Line 4.4 of (Check one): C1 Pant 1: Creditors with Priority Unsecured Claims
pant 2: Creditors with Nonpriority Unsecured Claims
Last 4 cialts of account number _ 2007

On which entry in in Part 1 or Part 2 did you list the original o creditor?
Line 4.10 of (Check one): ED Part 1: Creditors with Priority Unsecured Claims

BB Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 siaits of account number 1 31 3

ony which entry in in Part 1 or Part 2 did you ist t the original creditor?
Line 4.5 of (Check one): © Part 1: Creditors with Priority Unsecured Claims

Wi part 2: Creditors with Nonpriarity Unsecured Claims

Last 4 digits of account number

On which entry | in Part 1 or Part 2 did you list the original ¢: creditor?
Line 4.114 of (Chack one): C1 Part 1: Creditors with Priority Unsecured Claims

MB Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 4 digits of account number 7803

On which entry i in Part 1 or Part 2 did you list the original creditor?

Line 4.19 of (Check one): OD Part 1: Creditors with Priority Unsecured Claims
a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 5388

Add the Amounts for Each Type of Unsecured Claim oe oe

6. Totat the amounts of certain types of unsecured claims. This information is for statistical reporting p purposes 5 only. 28 U.S.C. §159. Add the amounts for each

type of unsecured clalm.

Total Claim
6a. Domestic support obligations 6a. 5 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $
6c. Claims for death or personal Injury while you ware intoxicated 6c. 3s
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $
6e. Total Priority. Add tinas Ga through 6d. 6e. $$  — 0,00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 69. $ . ce cee
6h. Debts to pansion or profit-sharing plans, and other simifar debts 6h. $ 0. 00
6i. Other. Add all ather nonpriority unsecured claims. Write that amount Gi. oo :
here $ 144, 519.00

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor _ ee. Case number (if known}

6]. Total Nonpriority. Add lines 6f through Gi. §j. $ 144,519.00 |

Official Form 106 E/F Schedule E/F; Creditors Who Have Unsecured Claims Page 13 of 13
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TLL MAM UHM ATCOLACirtiOla Comi6 (Tala mo Lel mers 1-1 -o

Debtor 1 Pedro Reyes

“First Name Middie Name Last Nama
Debtor 2 Ariadne Abigail Cabrera Villasenor
(Spouse if, filing) “First Name Middle Name Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Casenumber oo oo.
{if known) (J Check if this is an

amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill [t out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Wl No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
DC Yes. Fill in all of the information below even if the contacts of leases are Ilsted on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code -

“2.1 |
Name

Number Street

pe a lly jovani avant ets meer ast tes

2.2
‘Name

“Number Street
con CY State ZIP Code

Name —

‘Number Street

_Sity. een nn ne NEP Code

Number Street
CY cerca soe, State | __ZIP Code
Name_

Number Street

City State ow. ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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aLUMIT CCM Pabiede gare (Cert Con CelctiL Chivas cere mer- isn

Debtor 1 Pedro Reyes .
First Name Middle Name Last Name

Debtor 2 Ariadne Abigail Cabrera Villasenor

(Spouse if, filing) First Name Middle Name Last Name

: United States Bankruptey Court for the: == CENTRAL DISTRICT OF CALIFORNIA

i Case number
(if known)

Official Form 106H
Schedule H: Your Codebtors

0 Check if this is an
amended filing

12/15

a

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equaliy responsible for supplying correct information. If more space Is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write

your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

MENo
O Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

DI No. Go to line 3.

Wi Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

DJ No
Yes.

In which community state or territory did you live?

“Name of your spouse, former spouse, or legal equivalent =

Number, Street, Clty, State & Zip Code

<NONE- —___ . Fillin the name and current address of that person.

3. in Column 4, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill

out Column 2.

Column f: Your codebtor
Name, Number, Street, City, State and ZIP Code

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

C Schedule D, line

(3.1
Name O) Schedule E/F, fine
O) Schedule G, fine
Number Street — ~~ - —
City State ZIP Code
3.2 | C1 Schedule D, line
Name El Schedule E/F, line
Schedule G, fine
“Number Street ~ -
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1
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j

| Debtor 1 Pedro Reyes _ oe _ _
: Debtor 2 Ariadne Abigail Cabrera Villasenor
(Spouse, if filing)

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA _

: Case number a oe oo Check if this is:
_ Ut knewn) C1 An amended filing

Lo . coe ee cue vee coe etnias te seatuatenate iuwnn Wyre teu un.. [1] A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106l MMTDDIYYYY
Schedule I: Your Income 1215

Be as complete and accurate as possible. If two married people are fillng together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. !f you are separated and your spouse Is not filing with you, do not include Information about your spouse. If more space Is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every question.

GEESEMEMN Describe Employment _

1. Fitt in your employment

informaticn. Debtor? __Debter 2 or non-filing spouse
If you have more than one job, i Employed Hi Employed
attach a separate page with Employment status
information about additional Not employed C1 Not employed
employers. .
Occupation Unemployed __ __..... Glinical Research Coordinater —__
Include part-time, seasonal, or
self-employed work. Employer's name ee a. Invivocure
Occupation may include student Employer's address 14600 Sherman Way Suite 215
or homemaker, if it applies. Van Nuys, CA 91405 _
How fong employed there? Be One Month
EEREAEEE Give Details About Monthly Income __ . eons ns es eenie une ne coe coe

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
_non-filing spouse _

List monthly gross wages, salary, and commissions (before all payroll

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 $ 000 $ | 6,932.00
3. Estimate and list monthly overtime pay. 3 +8 =— (sc —s—Ci«D
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 0.00 $ 6,932.00 |

Official Form 1061 Schedule |: Your Income page 1
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Debtor1 Pedro Reyes

Debtor? Ariadne Abigail Cabrera Villasenor Ce Case number (if known)
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line ere cnn matin timnnnnnnrne a 6 0.00 $F. 6,932.00
5. List all payrol! deductions:
5a. Tax, Medicare, and Social Security deductions Sa. $ 0.00 $ 1,908.00
5b. Mandatory contributions for retirement plans 5b. § 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. § ‘0.00 $ - 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 «$ 180.00
5e. Insurance Se. $ 0.00 $ 300.00
5f. Domestic support obligations sf. $ 0.00 $ °° &#&0.00
5g. Union dues 5g. $ 0.00 $ ~~ "9.00
5h. Otherdeductions. Specify; a 5ht+ $ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+Sh. 6 6 0.00 $ 2,388.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7% $$ 0.00 $ 4,544.00
List all other income regularly received:
8a. Net Income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. §$ 0.00 «6 0.00
8b. Interest and dividends 8 $ 6.00 S$ 0,00.
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. &. $ 0.00 §$ 0.00
8d. Unemployment compensation 8d. 3) 0.00 $ 0.00
8e. Social Security 8. $5 0.00 $ ~~ 0.60
8f. Other government assistance that you regularly receive — Oo
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: 8.  $ 0.00 «6§$ 0.00
8g. Pension or retirement income 89. $ 0.00 $ 0.00
8h. Other monthly income. Specify: __ 8h.t+ $ 000 +$ 0.00
9. Add all other Income. Add lines 8at8b+8c+8d+8e+8f+8g+Bh. 9. |$ 0.00 Is 0.00 |
10. Calculate monthly income. Add line 7 + line 9. 10. |$ 0.00 | +S = 4,544 a , $ 4,544.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. ee ee

11. State all other regular contributions to the expenses that you list In Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +§ 0.00

—

12. Add the amount In the fast column of line 10 to the amount In line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it :
applies 12. $ 4,544.00
| oo
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
a No. a oe - oo
O Yes.Explain: fo

Official Form 106} Schedule I: Your Income page 2
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Debtor 1 Pedro Reyes | Check if this is:

Ol Anamended filing
Debtor 2 Ariadne Abigail Cabrera Villasenor O) Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA MM/DD/YYYY

Case number
(If known)

Official Form 106J

information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.
Describe Your Household
1. Is this a joint case?
0 No. Go to line 2.
@ Yes. Does Debtor 2 live in a separate household?

HNo
OJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? [J No

Do not list Debtor 1 and Bl yes Fill out this information for Dependent’s relationship to Dependent’s

Debtor 2. * each dependent.............. Debtor 1 or Debtor 2 age

Do not state the

dependents names. Daughter 5 years
Daughter 11 years
Son 12 years

3. Do your expenses include BNo
expenses of people other than oO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Does dependent
live with you?

O No
Byes
ONo
Yes
O No
Yes
ONo
O Yes

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage

payments and any rent for the ground or lot. . $§
If not included in line 4:
4a. Real estate taxes 4a. $
4b. Property, homeowner's, or renter’s insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $ _
4d. Homeowner's association or condominium dues 4d. $
5. Additional mortgage payments for your residence, such as home equity loans 5. §

Official Form 106J Schedule J: Your Expenses

Your expenses

page 1
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Debter1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor

6.

16.

17.

18.
19.

20.

21.
22.

23.

24.

Official Form 106J

Case number (if known)

1

Utilities:
6a. Electricity, heat, natural gas 6a. $ 220.00
6b. Water, sewer, garbage collection 6b. $ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ _ 361.00
6d, Other. Specify: _ «bd. § 0.00
Food and housekeeping supplies 7S _ 1,000.00
Childcare and children’s education costs 8 5 oe _ 0.00
Clothing, laundry, and dry cleaning 9. §$ 350.00
Personal care products and services 10.5 90.00
. Medical and dental expenses 11. $ 200.00
Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 690.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 160.00
Charitable contributions and religious donations 14. $ — “0.00
Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ _ 0.00
15b. Health insurance 15b, $ _ 0.00
15c. Vehicle insurance 156. $ 364.00
15d. Other insurance. Specify: 15d. 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. ” —
Specify: 16. $ 0.00
Installment or lease payments: ~~
17a. Car payments for Vehicle 1 17a. $ 0.00
17b, Car payments for Vehicle 2 17. 5 ~ 0.00
17c. Other. Specify: _ 17c. $ 0.00
17d. Other. Specify: - 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as — —
deducted from your pay on line 5, Schedule f, Your Income (Official Form 1061). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 6.00
Specify: a - 19.
Other real property expenses not Included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a, S$ _ _ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ - 0.00
20e. Homeowner's association or condominium dues 20e, $ © 0.00
Other: Specify: Emergency a BAL 160.00
Calculate your monthly expenses :
22a. Add lines 4 through 21. $ 5,095.00 |
22h. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 5 oe
22c. Add line 22a and 22b. The result is your monthly expenses. $ 5,095.00
Calculate your monthly net income. oe ee
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 4,544.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ _ 5,095.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c, & “551.00 . |

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase cr decrease because of a

modification to the terms of your mortgage?
No. oe
O Yes. [ Explain here:,

Schedule J: Your Expenses

page 2
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Debtor 1 Pedro Reyes
i First Namo Middle Name Last Name ~
i Debtor 2 Ariadne Abigail Cabrera Villasenor

(Spouse if, filing) First Name Middle Name Last Name

: United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

Case number ee, oo
| Gi known) (] Check if this is an

to / ee OS amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 1245

If two married peapte are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining monay or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

m No

O Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
“oes oe oe os ~ Declaration, and Signature (Official Form 119)

Under penalty of perjury, ! declare that | have read the summary and schedules filed with this declaration and

that they are true and correct. An
X fs/PedroReyes SZ - a X /s/ Ariadne Abigail Cabrera Villasenor 2“ “——"_——

Pedro Reyes Ariadne Abigail Cabrera Villasenor
Signature of Debtor 4 Signature of Debtor 2
Date October1,2024 Date October1,2024 = OO

Official Form 106Dec Declaration About an Individual Debtor's Schedules
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Debtor 1 Pedro Reyes
First Neme Middle Name Last Nemo
Debtor 2 Ariadne Abigail Cabrera Villasenor _ _

(Spouse ff, filing) Firs! Name Middle Name Last Nama

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Casenumber
| (know) C1 Check if this is an

i oe oo ee amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (If known). Answer every question.

GEREEEE Give Detaits About Your Marital Status and Where You Lived Before
1. What is your current marital status?

HM Mantied
[1] Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

H No
O Yes. List all of the places you lived in the last 3 years. Do not include where you tive now.
Debtor 1: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived thera lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

O No
M@ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any Income from employment or from operating a business durlng this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until I wages, commissions, $57,736.00 © Wages, commissions, $0.00
the date you filed for bankruptcy: bonuses, tips bonuses, tips
C) Operating a business CJ Operating a business

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor = oo Case number (itknown) _
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
For last calendar year: I Wages, commissions, $80,639.00 [1] Wages, commissions, $0.00

(January 1 to December 31, 2023 ) bonuses, tips

bonuses, tips

I Operating a business CD Operating a business

For the calendar year before that! = wanes. commissions $82,707.00 (1) Wages, commissions, $0.00
(January 1 to December 31, 2022) bonuses, tips , bonuses, tips

Ml Operating a business C2 Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that Income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsults; royalties; and gambling and lcttery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

M No
O Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross Income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy _

6. Are elther Debtor 1's or Debtor 2's debts primarily consumer debts?
[CJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the $0 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

DO No. Gotoline 7.

O Yes List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

MW Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

M@ No. Gotoline 7.

D) Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor’s Name and Address Dates of payment Total amount Amount you Was this payment for...
paid still owe

Official Form 107 Statement of Financial Affairs for Individuals Fiting for Bankruptey page 2
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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor _ oo Case number (if known)

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

M@ No

O Yes. List all payments to an insider.

insider's Name and Address Dates of payment Total amount Amount you ‘Reason for this payment
paid stitl owe ’

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

B No
OO Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid stillowe — Include creditor's name

identify Legal Actions, Repossessions, and Foreclosures __ a
9. Within 1 year before you fited for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

No

@ Yes. Fill in the details,

Case titfe Nature of the case Court or agency Status of the case

Case number

Cavalry SPV I, LLC v. Adiadne complaint for L.A. Superior Court @ Pending

Cabrera money damages O ona

ppeal

24-10405-0 O Concluded

Discover Bank V. Pedro Reyes Compiaint for L.A. Superior Court MI Pending

24NWLC38644 money 12720 Norwalk Blvd. CO on appeal
Norwalk, CA 90650 O Concluded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

M@ No. Gotoline 11.
DsYes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

11. Within 80 days before you filed for bankruptcy, did any creditor, Including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

H No
(Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor tock Date action was Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

@ No
O Yes

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Debtor 4
Debtor2 Ariadne Abigail Cabrera Villasenor

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Desc
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Pedro Reyes

Case number (if known)

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

14.

@ No
C1 sYes. Fill in the details for each gift.

Gifts with a total vatue of more than $600

Describe the gifts
per person

Dates you gave
the gifts

Value

Person to Whom You Gave the Gift and
Address:

Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
B No

0 Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total

more than $600
Charity's Name
Address (Number, Street, City, State and ZIP Code)

GEGEHME List CertainLosses

Describe what you contributed Dates you

contributed

Vatue

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?

HM No
{] Yes. Fill in the details.

Describe the property you lost and
how the loss occurred

Describe any insurance coverage for the loss
Inctude the amount that insurance has paid. List pending SS fost

Date of your Value of property

insurance claims on IIne 33 of Schedule A/B: Property.

EZEEAEE List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

[C] No

@ Yes. Fill in the details.

Person Who Was Pald Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, If Not You

Law Offices of Jasmine Firooz, P.C. Attorney Fees 2024 $2,600.00

1605 W. Olympic Bivd. Suite 9021
Los Angeles, CA $0015
Jasminefirooz@gmail.com

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

H No
C sYes. Fill in the details.
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made
Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor Case number (i known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M@ no

C] Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficlary? (These are often called asset-protection devices.)

M@ No
C1 Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No
O1 Yes. Fill In the details,

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code} moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M@ No

C1 Yes. Fill in the details.
Name of Financia! Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

@ No
Cl) Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Strest, City, State and ZIP Code) to it? have it?

Address (Number, Strest, City,
State and ZIP Coda)

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

fer someone.

M No

C1 Yes. Fill in the details.
Owner’s Name Where Is the property? Describe the property Vatue
Address (Number, Street, City, State and ZIP Code) {Number, Strect, City, State and ZIP

Code)
Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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Debtor1 Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor Case number (i known)

toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of thease substances, wastes, or material.

@ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize It, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

M@ No
C Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Coda) Address (Number, Street, City, State and know it

ZIP Coda)

25. Have you notified any governmental unit of any release of hazardous material?

M@ No

O Yes. Fill In the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Strest, City, State and know it

ZIP Coda)

26. Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

He No
O Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and Z[P Coda)

Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

@ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
OA member of a limited liability company (LLC) or IImited liabillty partnership (LLP)
OA partner In a partnership
C1 An officer, director, or managing executive of a corporation
DO An owner of at least 5% of the voting or equity securities of a corporation

(No. None of the above applies. Go to Part 12.

@ Yas. Check afl that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer tdentification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Coda) Name of accountant or bookkeeper
Dates business existed
Reyes Mobile Car Wash Mobile Car Wash EIN: XX-XXXXXXX
2426 1/2 Folsom St.
Los Angeles, CA 90033 none From-To 3/2021-6/2023

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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor Case number (if known)

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include ail financial
institutions, creditors, or other parttes.

HM No

1 Yes. Fill in the detatls below.

Name Date issued

Address

(Number, Street, City, State and ZIP Code)
EXUSER Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

fs! Pedro Reyes —? “Sh _ /s/ Ariadne Abigail Cabrera Villasenor aw

Pedro Reyes Ariadne Abigail Cabrera Villasenor
Signature of Debter 1 Signature of Debtor 2
Date October1,2024 =. Date October 1, 2024

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
MNo

Cl Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
BNo

D Yes, Name of Person . Attach the Bankruptcy Patition Preparer's Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statemant of Financial Affairs for tndividuals Filing for Bankruptcy

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Debtor 1 Pedro Reyes

First Nama Middie Nama Last Name
Debtor 2 Ariadne Abigail Cabrera Villasenor
(Spouse if, filing) FirstName =~ Middle Neme Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Case number
(it known) [1 Check if this is an

amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 1245

if you are an individual filing under chapter 7, you must fill out this form if:
J creditors have claims secured by your property, or

fi you have leased personal property and the lease has nat expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsibie for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

4. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill In the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Bid you claim the property
secures a debt? as exempt on Schedule C?
Creditor's (J Surrender the property. CNo
name: C1 Retain the property and redeem it.
Cl Retain the property and enter into a CO Yes
Description of Reaffirmation Agreement.
property C1 Retain the property and [explain]:

securing debt:

Creditor's © Surrender the property. [TI No
name: 0 Retain the property and redeem it.

CO) Retain the property and enter into a O Yes
Description of . Reaffirmation Agreement.
property © Retain the property and [explain):
securing debt:
Creditor’s Cd Surrender the property. CI No
name: DO) Retain the property and redeem it.

CO Retain the property and enter into a D Yes
Description of Reaffirmation Agreement.
property C Retain the property and [explain]:

securing debt:

Creditor's C] Surrender the property. 0 No

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Debtor1 Pedro Reyes

Debtor2 Ariadne Abigail Cabrera Villasenor Case number (if known)
name: C1 Retain the property and redeem it.
a C1 Retain the property and enter into a O Yes
Description of Reatfirmation Agreement.
property C1 Retain the property and [explain]:

securing debt:

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: 0) Yes
Lessors name: OO No
Description of leased

Property: O Yes
Lessor's name: OO No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes

GEE Sign Below _ = ees eee

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X /s/ Pedro Reyes 4 Cc X /s/ Ariadne Abigail Cabrera Villasenor KS,

Pedro Reyes Ariadne Abigail Cabrera Villasenor
Signature of Debtor 1 Signature of Debtor 2
Date October 1, 2024 Date October 1, 2024

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010) _

|

|
| This notice is for you if:

Chapter 7: Liquidation

| $245 filing fee
| You are an individual filing for bankruptcy, !

and $78 administrative fee
Your debts are primarily consumer debts. | + $15 trustee surcharge

Consumer debts are defined in 11 U.S.C.

| § 101(8) as “incurred by an individual $338 total fee

primarily for a personal, family, or

household purpose.” | Chapter 7 is for individuals who have financial

difficulty preventing them from paying their debts

~ ~ ~ and who are willing to allow their non-exempt
The types of bankruptcy that are available to property to be used to pay their creditors. The
individuals primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation

Chapter 11 - Reorganization

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Cade, the court may deny your
discharge.

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

most taxes;
most student loans;

domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. § 342(b) for Individuals Fillng for Bankruptey (Form 2010) page 1
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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity:

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

if your income is above the median for your state, you
rust file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A-2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Tesi, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

Chapter 11: Reorganization

$1,167 filing fee

+ $571 administrative fee
$1,738 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 2
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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file. |
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy

and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake |
or inaction may harm you. if you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to fite or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your |
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to .
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Chapter 12: Repayment plan for family
farmers or fishermen

$200 filing fee
+ $78 administrative fee
$278 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

Chapter 13: Repayment plan for
individuals with regular
income

$235 filing fee
+ $78 administrative fee
$313 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010) page 3
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Warning: File Your Forms.on Time

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For more information about the documents and
their deadlines, go to:
http://www.uscourts.gov/forms/bankruptcy-forms

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:/jwww.,uscourts,gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

In Alabama and North Carolina, go to:
http://www.uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Central District of California

Pedro Reyes
Inre Ariadne Abigail Cabrera Villasenor Case No.

Debtor(s) — Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P, 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept . . $ 2,600.00,
Prior to the filing of this statementIhavereceived == $ 2,600.00
Balance Due $ 9,00

2. The source of the compensation paid to me was:

M@ Debtor © Other (specify):

3. The source of compensation to be paid to me is:

Debtor Other (specify):
4. 4 [have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

CO) Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.  Inreturn for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof,
Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
(Other provisions as needed]

None

pono

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
None

- CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

October 1,202600° is! Jasmine Firooz . _
Date Jasmine Firooz
Signature of Attorney

Law Offices of Jasmine Firooz, P.C.
1605 W. Olympic Bivd. Suite 9021
Los Angeles, CA 90015

Tel. 213-251-8568 Fax: 213-251-8570
i jasminefirooz@gmail.com

Name of law firm
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1@} al=To Mo) at=m ole) Mela |W arc tome ieee (cream ales iene Mei eee)

Peer Role) 8) on

Debtor 1 Pedro Reyes

Debtor 2 Ariadne Abigail Cabrera Villasenor | @ 4. There is no presumption of abuse

(Spouse, if filing)

DO 2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2).

United States Bankruptcy Court forthe: Central District of California

Case number
(if known) C1 3. The Means Test does not apply now because of
| qualified military service but it could apply later.

O Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
OO] Not married. Fill out Column A, lines 2-11.
@ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
OO Married and your spouse is NOT filing with you. You and your spouse are:
C Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

C Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
401(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
payroll deductions).
3. Alimony and maintenance payments. Do not include payments from a spouse if

0.00 ¢§ 6,152.00

Column B is filled in. 0.00 $ 0.00
4, All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00 0.00
filled in. Do not include payments you listed on line 3. : $ :
5. Net income from operating a business, profession, or farm
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses $ 0.00
Net monthly income from a business, profession, or farm $ 0.00 Copy here > $ 0.00 $ 0.00
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses $$ 0.00
Net monthly income from rental or other real property $ 0.00 Copy here ->$ 0.00 $ 0.00
$ 0.00 § 0.00

7. Interest, dividends, and royalties

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
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Debtes3 Pedro Reyes
Debtr2 Ariadne Abigail Cabrera Villasenor  —=ss_——s—t Case number (if known)

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

8. Unemployment compensation $ 0.00 = § 0.00

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, fist it here:

Foryou $ 0.00
Foryourspouse $ 0.00

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Socia! Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disabitity, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled
if retired under any provision of title 10 other than chapter 61 of that title. 0.00 $ 0.00

10. tncome from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or

: disability, or death of a member of the uniformed services. If necessary, list other

sources on a separate page and put the total below..

Total amounts from separate pages, if any. +

0.00 $ — 0.00
11. Calculate your total current monthly income. Add lines 2 through 10 for —

each column. Then add the total for Column A to the total for Column B. 0.00 $ 6,152.00 $ 6,152.00

— oo Total current monthly
Income

Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps: _.

12a. Copy your total current monthly income fromline 11  iiti(itsi‘CéC;C‘# py tine 11 here> s_ 6,152.00 |

Multiply by 12 (the number of months in a year) x12.
12b. The result is your annual income for this part of the form 12b. | g 73,824.00 |

13. Calculate the median family Income that applies to you. Follow these Steps:

Fill in the state in which you live. |___ca _|
Fill in the number of people in your household. [ __§ | _

Fill in the median family income for your state and size of household. 43. s 138,433.00 |

To find a list of applicable median income amounts, go online using the link specified in the separate instructions
for this form. This tist may also be available at the bankruptcy clerk's office.

| 14, How do the lines compare?

14a. UH Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or fite Official Form 122A-2.

14b. [1 Line 12bis more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Sign Below
By signing here, | declare under penalty of perjury that the information on this statement and in any attachments Is true and correct.
|
| X és! Pedro Reyes <P Qh oo X ‘si Ariadne Abigail Cabrera Villasenor —
Pedro Reyes Ariadne Abigail Cabrera Villasenor

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

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Debtor? Pedro Reyes
Debtor2 Ariadne Abigail Cabrera Villasenor Case number (if known)
Signature of Debtor 1 Signature of Debtor 2
Date October 1, 2024 Date October 1, 2024
MM/DD /YYYY MM/DD /YYYY
If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A-2 and file it with this form.
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3
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Attorney or Party Name, Address, Telephone & FAX Nos., | FOR COURT USE ONLY

-State Bar No. & Email Address |
| Jasmine Firooz |
1605 W. Olympic Blvd. Suite 9021
|Los Angeles, CA 90015 |
‘Tel. 213-251-8568 Fax: 213-251-8570 :
‘Califomia State Bar Number: CSB# 166508 CA
Jasminefirooz@gmail.com |

o Debtor(s) appearing without an attorney |

 Attomey for Debtor

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

‘Inre;
Pedro Reyes CASE NO.:

Ariadne Abigail Cabrera Villasenor CHAPTER: 7

VERIFICATION OF MASTER |
MAILING LIST OF CREDITORS

| [LBR 1007-1(a)] |

Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _5 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: October1,2024 a IsiPedroReyes
Signature of Debtor 1

Date: October1,202400 4s! Ariadne Abigail Cabrera Villasenor -“——"~ —_\
Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: October 1, 2024 eet eee fstJasmine Firooz te
Signature of Attorney for Debtor (if applicable)

This form is optional. [t has been epproved for use In the United States Bankruptcy Court for the Central District of California.

December 2015 F 1007-1.MAILING.LIST. VERIFICATION
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Franchise Tax Board
PO Box 9342867
Sacramento, CA 94267-0011

U.S. Justice Dept. & Tax Div.
Ben Franklin Station

PO Box 683 Western Region
Washington, DC 20044

Equifax
PO Box 105873
Atlanta, GA 30348

Experian
PO Box 4500
Allen, TX 75013

Transunion Corporation
Public Records Department
555 West Adams St.
Chicago, IL 60661

Internal Revenue Service
Fresno, CA 93888-0030

U.S. Attorneys Office

Central District of CA-Tax Division
312 North Spring St. Suite 1200

Los Angeles, CA 90012

Adventist Health White Memorial
3075 East Imperial Hwy Suite 200
Brea, CA 92821
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Amazaon Business Card
PO Box 81226
Seattle, WA 98108-1226

American Express
PO Box 981535
El Paso, TX 79998-1535

American Express / Amazon Business
PO Box 96001
Los Angeles, CA 90096-8000

Apple Card
PO Box 7247
Philadelphia, PA 19170

ARS National Services Inc.
PO Box 469100
Escondido, CA 92046

Capital One Bank
PO Box 30285
Salt Lake City, UT 84130

Capital One Bank (USA) N.A.
PO Box 30281
Salt Lake City, UT 84130

Cedars Sinai
PO Box 48954
Los Angeles, CA 90048-0954
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Cedars Sinai Financial Assistance
File 1688

1801 W. Olympic Blvd.

Pasadena, CA 91199-0954

Citi Cards
PO Box 6403
Sioux Falls, SD 57117

City of Pasadena
PO Box 269110
Sacramento, CA 95826-9110

Daniel's Jewelers
PO Box 3750
Culver City, CA 90231

Goldman Sachs Bank USA /Apple Card
Lockbox 6112

PO Box 7247

Philadelphia, PA 19170-6112

Goldman Sachs Bank USA /Apple Card
Lockbox 6112

PO Box 7247

Philadelphia, PA 19170

Good Year Credit Card
PO Box 9001006
Louisville, KY 40290-1006

HMH Emergency Medical Group Inc.
PO Box 60259
Los Angeles, CA 90060-0259
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Huntington Health
PO Box 48954
Los Angeles, CA 90048-0954

kohi's
PO Box 3043
Milwaukee, WI 53201

McCarthy, Burgess & Wolff
26000 Cannon Road
Cleveland, OH 44146

Merrick Bank
PO Box 660702
Dallas, TX 75266-0702

Nelson and Kennard Attorneys
PO Box 13807
Sacramento, CA 95853

Nordstrom Bank Colorado Srvce Cntr
PO Box 6555
Englewood, CO 80155

Portfolio Recovery Associates
120 Corporate Bivd.Ste.100
Norfolk, VA 23502

PromedSpine.com
1631 Ventura Blvd. Suite 1065-B
Encino, CA 91436
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Radiology Med. Group of WMMC
5700 Southwyck Blvd.
Toledo, OH 43614-1509

Shop Your Way Mastercard
PO Box 6276
Sioux Falls, SD 57117-6276

Suttell, Hammer , APC
PO Box C~90006
Bellevue, WA 98009

Synchrony Bank/ Amazon
Attn: Bankruptcy Department
PO Box 71783

Philadelphia, PA 19176-1783

Target National Bank

c/o Target Credit Services
PO Box 673

Minneapolis, MN 55440

True Accord
303 2nd St. Suite 750 South
San Francisco, CA 94107

US Acute Care
PO Box 9820
Carol Springs, FL 33075-9820

US Acute Care Solutions
PO Box 9820
Carol Springs, FL 33075-9820
